                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 ARTHUR M. LOVE,

                Plaintiff,                         Case No. 1:21-cv-02029-RDB
 v.

 LARRY HOGAN, BOYD RUTHERFORD,
 STEVEN MCADAMS, ALLISON MAYER,
 MONA VAIDYA, SHAREESE
 CHURCHILL, MATHEW A. CLARK, and
 THE STATE OF MARYLAND,

                Defendants.



          PLAINTIFF’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE

I.     INTRODUCTION

       Arthur M. Love IV (“Mr. Love”) was the Deputy Director of Community Initiatives for

the State of Maryland, where he served faithfully as a public servant until Defendants unlawfully

terminated him from employment on August 30, 2020. Governor Larry Hogan (“Defendant

Hogan”) had appointed Mr. Love to said position on January 21, 2015 after Mr. Love led

Defendant Hogan’s statewide field operations during Defendant Hogan’s first gubernatorial

campaign. Defendants terminated Mr. Love because there was social anxiety, upheaval, and

pressure in the wake of the Kenosha riots and a schism with regards to the Kyle Rittenhouse

narrative(s). Specifically, Defendants conspired to and did so in fact terminate Mr. Love’s

employment because Mr. Love privately, and not within the scope of any of his official duties,

engaged in discourse supporting the narrative less favorable to the rioters, which rightfully

explained that Kyle Rittenhouse, at that time, might had have a viable self-defense affirmative

defense, which, we now know, was accurate and the concept and narrative should never have been


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retaliated against. Notwithstanding Mr. Love’s narrative’s accuracy, privateness, and correctness,

Defendants did not want to displease the rioters and catch the attention of the wave of the

incorrectly placed anarchic-leaning public sentiment, so they unlawfully fired Mr. Love.

       The termination especially came as a surprise to Mr. Love because Steven McAdams

(“Defendant McAdans”) spoke with Mr. Love a day before the Defendants decided to terminate

Mr. Love from his position as Deputy Director and stated that Mr. Love need not worry and that

they would “get through this.” Defendant McAdams was then a supervisor of Mr. Love’s;

Defendant McAdams was the Executive Director of the Governor’s Office of the State of

Maryland. Even more surprisingly and reflective of the Defendants’ improper conduct, Mr. Love

only learned he had been terminated as he watched a television news report covering his story.

Defendant McAdams and his representatives admitted that Mr. Love’s termination was due to his

private social media interactions, and they specified that Mr. Loves’ private posts’ presented views

were contrary to those of the Defendants.

       After Mr. Love filed his complaint, this Court, on December 16, 2021, ordered that Mr.

Love show good cause as to why this Court should not dismiss the complaint as to Defendant

Hogan et al, without prejudice, for Mr. Love’s failure to serve the summons and complaint upon

Defendant Hogan and the other Defendants properly. In response, Mr. Love asks this Court to stay

its hand and not dismiss the complaint as to Defendant Hogan et al, presenting the following in

support of his request:

II.    ARGUMENT

       Rule 4(m) of the Federal Rules of Civil Procedure states that even if the plaintiff does not

serve a defendant within 90 days after filing the complaint, the court can order the plaintiff to make

service within a specified time instead of dismissing the action. Furthermore, if the plaintiff shows


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good cause for his/her failure to serve, the Court must extend the time for service for an appropriate

period. Moreover, in this Circuit, the Court will, from time to time, hold that Plaintiff had good

cause to deliver service of process late if counsel acted in good faith. Robinson v. G D C, Inc., 193

F. Supp. 3d 577 (E.D. Va. 2016).

       A.      Local Counsel Withdrew Unexpectedly and Did Not Sufficiently
               Communicate and Document Service of Process

       Mr. Love’s primary counsel, John Pierce, only obtained local counsel in Maryland on

December 30, 2021, and there is presently a pro hac vice motion pending for the admission of John

Pierce in this case. Therefore this response is being filed by local counsel due to time constraints

as to responding to the Show Cause Order issued by this Court.

       Mr. Love’s former counsel in this case, who was working in conjunction with Mr. Pierce,

was Jeffrey McFadden, Esquire, an attorney licensed in the State of Maryland and admitted to

practice before this Court. Mr. McFadden then withdrew from this matter. Not only did Mr.

McFadden withdraw, but he also left Mr. Love in a severe predicament because service was

apparently not completed on the Defendants, he did not communicate the exact status of the case

or service to lead counsel, and rarely communicated with or responded to Mr. Love’s lead counsel,

Mr. Pierce. This may have been a violation of Rule 19-301.16 of the Maryland Rules of

Professional Conduct by failing to take reasonably practicable steps to protect Mr. Love’s

interest(s) in the case and failing to give reasonable notice to Mr. Love or lead counsel with regards

to the status of service in this case. Specifically, prior local counsel did not attach any proof that

Defendants accepted service via e-mail and failed to apprise Mr. Love or lead counsel of the next

steps necessary to effectuate service of process upon the Defendants. This came after several weeks

of not responding to lead counsel in a timely manner, and insulting lead counsel based on articles

about lead counsel and lead counsel’s prior clients, political views, and reputation by way of

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nefarious articles.   This severely tarnished Mr. Love’s ability to carry on his case against

Defendants. Mr. Love’s lead counsel is now trying to cure service. Lead counsel John Pierce relied

on Mr. McFadden’s communications and knowledge of the local laws and rules and could not have

reasonably foreseen that when Jeffrey McFadden stated that Defendants accepted service via e-

mail, Jeffrey McFadden was wrong.

       B.      Defendants have constructively and repeatedly attempted to avoid service by
               using a Maryland Statute as a shield to service in this federal court.

       In the Defendants’ Memorandum in Support of their Motion to Dismiss, Defendants admit

that Plaintiff(s) can serve process upon the Attorney General via e-mail for claims against the state

and against the individually named Defendants in their official capacities. See Attached Exhibit 2,

(Pg. 24). Defendants further agree that after receiving the service of process via e-mail, they

accepted service on behalf of the state and the individually named defendants in their official

capacities. Id. However, Defendants claim that the office of the Attorney General needed

‘permission’ from the individual Defendants to accept service. Defendants further contend that

they did not secure Defendant, Mathew Clark’s (“Defendant Clark”) permission, thereby claiming

further that Plaintiff, therefore, did not serve Defendant Clark. However, Defendant Clark shares

the same address with the other Defendants named above, and, delivery of service, other than by

e-mail was next to impossible as all the Defendants were working remotely and Mr. Love did not

have access to their private or remote addresses for service of process.

       Defendants next contended that, under the Maryland Tort Claims Act, Mr. Love had to

serve the Treasurer for all the tort-based causes of action. Defendants claim that Mr. Love failed

to do so and that this Court should consequently dismiss the claims (Count IV and Count VI).

Defendants are incorrect for the following two reasons:



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                1.      Defendants admit that Mr. Love delivered service of process to the treasurer

in order to satisfy the service requirements of the tort claims. Id. However, the treasurer rejected

the service. Defendants want this Court to dismiss this case based on the erroneous premise that

Mr. Love had to cure service and failed to do so. The intent of Maryland’s Tort Claims Act,

however, does not support Defendants’ argument and motion. It is against all notions of public

policy surrounding delivery of service requirements for Defendants to reject Mr. Love’s proper

delivery of service to the only official office that the state statute permits for those claims, and then

to claim that Mr. Love should have cured service somehow.

                2.      The Maryland Tort Claims Act is not valid in federal court as it goes against

the Federal Rules of Civil Procedure used by this court; specifically, Rule 4’s requirements for

delivery of service on a State, State Officials in their individual capacities, and individuals. The

Maryland Tort Claims Act, coupled with the Defendant-created circumstances explained above,

create a nearly insurmountable barrier for Plaintiff to successfully deliver service to the Defendants

on the Tort claims and other claims that the Defendant moved to dismiss.

        C.      The Prejudicial Effect of the Delay on Defendants, If It Exists At All, Does not
                Warrant Dismissal
        Where Defendants are not prejudiced and are at least partially at fault for the delayed

service, Courts generally will not dismiss the cause(s) of action against Defendants. Clear Channel

Entm’t/ Televisa Music Corp. v. Mexico Musical, Inc., 252 F. App’x 779, 781 (9th Cir. 2007).

Moreover, Courts evaluate the prejudice to Defendants together with the strength of the Plaintiff’s

excuse for the delay or default. Id.

        In this case, Defendants rejected Mr. Love’s properly delivered service to the treasurer and

Defendant Clark, which, in the remote work setting that Defendants created, was the only

reasonable way for Mr. Love to serve Defendants as to the tort claims and to serve Defendant


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Clark. Therefore, Defendants are at least partially at fault for this delayed service. Moreover, in

their motion to dismiss, Defendants did not claim that this delay in service will have any prejudicial

effect on them. In equity, the balance sides with this Court not dismissing the causes of action

listed in the Defendants’ motion to dismiss and this Court’s order to show cause, and thereby

allowing Mr. Love to cure service if this Court deems that it is necessary and just.

        Lastly, dismissal under Rule 4(m) ‘without prejudice’ does not equate ‘without

consequence.’ If this Court dismisses the case and plaintiff has to file anew, the subsequent suit

must satisfy the statute of limitations. Powell v. Starwalt, 866 F.2d 964, 966 (7th Cir. 1989). This

is a suit, that if re-filed, runs the risk of expiring under Statute of Limitations.

        D.      IV. This Court Should Consider Alternatives to Dismissal

        Although Federal Courts need not exhaust every sanction or option short of dismissal

before finally dismissing a case, they must explore possible and meaningful alternatives.

Henderson v. Duncan, 779 F.2d 1421, 1424 (9th Cir. 1986). When a case is still ‘young’ [referring

to a complaint filed less than a year before the dismissal dispute arose] a district court must

consider less drastic alternative sanctions before dismissing the case. Raiford v. Pounds, 640 F.2d

944, 945 (9th Cir. 1981). “The District Court abuses its discretion if it imposes a sanction of

dismissal without first considering the impact of the sanction and the adequacy of less drastic

sanctions.” Malone v. U.S. Postal Serv., 833 F.2d 128, 131 (9th Cir. 1987).

        F.R.C.P. Rule 4 (a)(2) grants this Court the power to permit Mr. Love to amend the

summons. This is a very young case, as Mr. Love filed the Complaint in August. There is a plethora

of alternatives to dismissal. For instance, given the complexity that Defendants have created with

regards to Plaintiff’s service of process, this Court can order the treasurer and Defendant Clark to

accept delivery of service. Furthermore, this Court can grant plaintiff an extension of time to


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amend the summons and cure service. This Court can also allow Mr. Love to deliver service of

process to Defendants by alternative means.

III.   CONCLUSION

       This Court should accordingly accept Mr. Love’s above show of good cause as to the delay

and not dismiss the complaint as to the claims and defendant(s) named in the Defendant’s motion

to dismiss and this Court’s order to show cause, and should order a specific date by which service

should be effected as to all unserved Defendants.


Date: December 30, 2021                                     Respectfully Submitted,




                                                                   /s/Nevin L. Young
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